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                    IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF THE DISTRICT OF COLUMBIA


EUGENE HUDSON, Jr.
12723 Parkton Street
Fort Washington, MD 20744
                                                Civil Action No.:
       and

DANA DUGGINS
1645 Alvord Place
Red Bluff, CA 96080

              Plaintiffs

       v.

AMERICAN FEDERATION OF GOVERNMENT EMPLOYEES
80 F Street N.W.
Washington, DC 20001

              Defendant


                                        COMPLAINT

       Plaintiffs Eugene Hudson, Jr., and Dana Duggins, by and through their undersigned counsel,

file this Complaint alleging that the American Federation of Government Employees violated rights

protected by the Labor-Management Reporting and Disclosure Act by refusing to allow them access

to AFGE’s email system for campaign purposes.

                                           PARTIES

       1.     Plaintiff Eugene Hudson, Jr., is a member in good standing of the American

Federation of Government Employees (“AFGE”). Mr. Hudson resides at 12723 Parkton Street, Fort

Washington, MD 20744.
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       2.      Plaintiff Dana Duggins is a member in good standing of AFGE, She resides at 1645

Alvord Place, Red Bluff, CA 96080. Ms. Duggins is Executive Vice President of AFGE Council

220.

       3.      Defendant American Federation of Government Employees (“AFGE”) is a labor

organization within the meaning of 29 U.S.C. §402(i) AFGE maintains its principal office at 80 F

Street N.W., Washington, DC 20001. AFGE is a national labor organization with approximately

1034 affiliated Local Unions.

       4.      At all material times, David Borer has served as AFGE’s General Counsel and head

of the Office of the General Counsel (“OGC”).

                                JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§1331 and 29 U.S.C. §481(c).

       6.      This Court has venue over this matter pursuant to 28 U.S.C. §1391(b)(1) and 29

U.S.C. §481(c) because Defendant AFGE maintains its headquarters in the District of Columbia.

                                             FACTS

A.     The LMRDA and AFGE’s Constitution

       7.      AFGE’s Constitution requires the election of the National President, the National

Secretary-Treasurer, and the National Vice President for Women and Fair Practices to be elected at

a National Convention held every three years. [Complaint Exhibit 1 at 2-3].

       8.      Each Local Union affiliated with AFGE is entitled to select a number of delegates to

the national Convention based upon the size of its membership. For example, a Local Union with




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between 2,001 and 3,000 members is entitled to ten Convention delegates. [Complaint Exhibit 1 at

3].

       9.      Local Union delegates and alternate delegates to the National Convention must be

elected by secret ballot vote of Local Union members at least 30 days before the National

Convention. [Complaint Exhibit 1 at 3-4].

       10.     The Constitution contains the following provision concerning access to membership

information by candidates for the positions of National President, National Secretary-Treasurer, and

National Vice President for Women and Fair Practices:

       All declared candidates for national offices covered by this Part will be provided
       upon timely request the following information:
       (1)    A complete list of the names, business, and home addresses and business
              telephone numbers of the presidents, treasurers, and delegate(s) of each local
              participating in the election for which the candidacy has been declared.
       (2)    One set of mailing labels for the presidents, treasurers, and delegate(s)
              covered by subsection (1) above.
              Additional sets will be supplied each candidate upon written request. Each
              candidate shall be charged for each additional set on an actual cost basis.
       (3)    A list of the locals and their voting strengths as established by the AFGE
              National Constitution.

[Complaint Exhibit 1 at 15-16].

       11.     The current version of the AFGE Constitution contains no provision for the use of

email to distribute campaign literature.

       12.     The current version of the AFGE Constitution contains no provision permitting

candidates for the positions of National President, National Secretary-Treasurer, and National Vice

President for Women and Fair Practices to contact by mail or email rank-and-file members who

would elect and could influence the votes of delegates to the National Convention.




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       13.     The elected delegates to the Convention will elect the National President, the National

Secretary-Treasurer, and the National Vice President for Women and Fair Practices.

B.     Requests for Access to Email for Distribution of Campaign Literature

       14.     Plaintiff Hudson was elected National Secretary Treasurer of AFGE at its 2012 and

2015 Conventions for three year terms.

       15.     In August 2016, NST Hudson declared that he would be a candidate at the 2018

Convention. In December 2016 he announced that he would be a candidate for the position of

National President, the position currently held by National President J. David Cox.

       16.     On November 13, 2017, Plaintiff Duggins declared her candidacy for the office of

National Secretary-Treasurer, the position currently held by NST Hudson. A true and correct copy

of Ms. Duggins’ declaration is attached hereto as Complaint Exhibit 2.

       17.     Plaintiff Hudson and Plaintiff Duggins are running mates or slate mates in the

campaign.

       18.     The next AFGE Convention is scheduled to be held in August 2018. Delegates to

the 2018 Convention will elect a National President, a National Secretary Treasurer, and the National

Vice-President for Women and Fair Practices.

       19.     On or about January 17, 2017, Plaintiff Hudson requested that AFGE provide him

access to membership email addresses. On January 23, 2017, AFGE General Counsel David Borer

denied the request. He stated as follows:

       GCO has reviewed the request from NST Hudson for access to AFGE emails in
       connection with his declared candidacy for AFGE National President. The current
       policy of AFGE is to provide, per Appendix A, Part II, Section 4 (b) of the AFGE
       National Constitution, only the following:



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       (1) A complete list of the names, business, and home addresses and business
       telephone numbers of the presidents, treasurers, and delegate(s) of each local
       participating in the election for which the candidacy has been declared.

       (2) One set of mailing labels for the presidents, treasurers, and delegate(s) covered
       by subsection (1) above. Additional sets will be supplied each candidate upon written
       request. Each candidate shall be charged for each additional set on an actual cost
       basis.
       (3) A list of the locals and their voting strengths as established by the AFGE National
       Constitution.

       Neither the Constitution nor AFGE policies adopted by the National Executive
       Council (NEC) mentions access to emails. Whenever a request for email access
       comes to the attention of GCO, we have declined such requests based on the silence
       of the above-cited Constitutional language with respect to emails. GCO has even
       gone so far as to retrieve immediately email lists that were erroneously provided to
       a candidate by AFGE staff.

       Under the current policy and practice, email access for candidates to use in furtherance of
       their campaigns for AFGE office is not permissible. Unless and until the NEC issues a policy
       on this subject consistent with the Constitution and the law, or until the AFGE Convention
       adopts a new provision to the AFGE Constitution permitting such email access, such email
       access is not permissible.

       Access via regular mail remains permissible, provided that each candidate is entitled
       to only one set of mailing labels free of charge, and must pay the cost of providing
       such labels for any additional sets of labels requested.

A true and correct copy of the email correspondence between NST Hudson’s office and the Office

of the General Counsel is attached hereto as Complaint Exhibit 3.

       20.    AFGE routinely uses email to communicate with its membership. [Complaint Exhibit

4].

       21.    When incumbent National Vice Presidents requested to use email to distribute

campaign literature in advance of their May and June elections, AFGE adopted a policy permitting

candidates to have access to AFGE’s email system through a vendor, TrueBallot, Inc. A true and

correct copy of General Counsel Borer’s April 4, 2017 Memorandum announcing a “Procedure to


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Request Email Distribution of Campaign Literature” is attached hereto as Complaint Exhibit 5.

       22.     Plaintiff Hudson and Plaintiff Duggins are willing to use and pay the reasonable cost

of the system AFGE has contracted with to provide email distribution for candidates.

       23.     On August 10, 2017, Justin Keating, counsel for Mr. Hudson, sent an email to

General Counsel Borer asking how Mr. Hudson could use the AFGE email system for campaign

purposes. A true and correct copy of Justin Keating’s email to General Counsel David Borer is

attached hereto as Complaint Exhibit 6.

       24.     General Counsel Borer did not respond to Mr. Keating’s email.

       25.     On August 16, 2017, Jonathan Axelrod, counsel to Mr. Hudson, wrote to General

Counsel Borer requesting Mr. Hudson’s access to the AFGE TrueBallot email system for campaign

purposes. A true and correct copy of Mr. Axelrod’s August 16, 2017 letter is attached as Complaint

Exhibit 7.

       26.     On August 25, General Counsel Borer responded to Mr. Axelrod’s letter as follows:

       As for his request for email access, as a candidate for office, we’ve never received
       such a request so far in advance of the election date. As Mr. Hudson knows, we use
       a vendor to provide this service to candidates. We have contacted the vendor about
       setting up the process for the elections that will be held at the 2018 AFGE
       Convention. As soon as we work out those details we will notify your client and any
       other candidates.

A true and correct copy of General Counsel Borer’s August 25, 2017 email is attached hereto as

Complaint Exhibit 8.

       27.     Mr. Axelrod responded the same day, expressing the hope that AFGE would “make

arrangements for email reasonably soon.” A true and correct copy of Mr. Axelrod’s August 25 email

is attached as Complaint Exhibit 9.



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       28.     On November 3, 2017, Mr. Axelrod wrote to General Counsel Borer as follows:

“When will AFGE advise us when and how Mr. Hudson can obtain email lists for his campaign?

We have waited months since [our] last request.” A true and correct copy of Mr. Axelrod’s

November 3, 2017 email is attached hereto as Complaint Exhibit 10.

       29.     General Counsel Borer did not respond to Mr. Axelrod’s November 3 email.

       30.     On November 13, 2017, Plaintiff Duggins declared her candidacy for the office of

National Secretary-Treasurer and requested access to the AFGE email system for campaign purposes.

[Complaint Exhibit 2].

       31.     AFGE has not responded to Ms. Duggins’ request.

       32.     On November 14, 2017, Mr. Axelrod spoke by telephone with General Counsel

Borer. During their discussion, Mr. Axelrod asked when Mr. Hudson would be given access to the

AFGE email system for campaign purposes. General Counsel Borer replied that because the election

would take place at the Convention Mr. Hudson could not use the email system until all delegates

had been elected/selected. General Counsel Borer said that he could not send email to all members

or a selected group of members.

       33.     The next day, Mr. Axelrod sent an email to General Counsel Borer asking him to

confirm or correct Mr. Axelrod’s understanding of their conversation. A true and correct copy of

Mr. Axelrod’s November 15, 2017 email to General Counsel Borer is attached hereto as Complaint

Exhibit 11.

       34.     General Counsel Borer has not responded to Mr. Axelrod’s email.




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                                              COUNT 1

                       VIOLATION OF LANDRUM-GRIFFIN RIGHTS

         35.    The allegations in paragraphs 1 through 34 of the Complaint are incorporated by

reference.

         36.    The Labor-Management Reporting and Disclosure Act (“LMRDA”), 29 U.S.C.

§481(c), states as follows:

         Every national or international labor organization, . . . and every local labor
         organization, and its officers, shall be under a duty, enforceable at the suit of any
         bona fide candidate for office in such labor organization in the district court of the
         United States in which such labor organization maintains its principal office, to
         comply with all reasonable requests of any candidate to distribute by mail or
         otherwise at the candidate’s expense campaign literature in aid of such person’s
         candidacy to all members in good standing of such labor organization. [emphasis
         supplied].

         37.    Included in the right to distribute literature is the right to utilize a union’s email

distribution system. Dimondstein v. American Postal Workers Union, 964 F. Supp.2d 37 (D. D.C.

2013).

         38.    The United States Department of Labor’s Office of Labor-Management Standards

published on its website a list of Frequently Asked Questions. One question concerns the right to

distribute literature by email:

         Q9. Can a union be required to distribute a candidate's campaign literature to
         members via e-mail, as opposed to using their postal address?

         A9. Other than by mail, there is no prescribed manner in which unions must
         distribute campaign literature. Likewise, unions are not required to provide
         candidates access to all methods of distribution that may be available to the union.
         Generally, if the candidate’s request for an alternative method of distributing
         campaign literature is a reasonable one, the union is required to make the
         distribution. Accordingly, OLMS advises unions to comply with a candidate’s
         reasonable request to distribute campaign literature to the membership through e-mail


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       if the union uses e-mail to disseminate Information to its members.

A true and correct copy of the Department of Labor’s FAQ is attached hereto as Complaint Exhibit

12. See U.S. Department of Labor, Office of Labor-Management Standards (OLMS), Frequently

Asked        Questions      (FAQs)        Concerning          Union       Officer       Elections,

http://www.dol.gov/olms/regs/compliance/Electionsfaqgen.htm.

       39.      Accordingly, during the election of National Vice Presidents during the spring and

summer of 2016, AFGE created a procedure for candidates seeking to distribute campaign literature

by email. Candidates for National Vice President positions were permitted to, and did, use the

AFGE TrueBallot system to distribute email to their constituents.

       40.      AFGE has denied candidates Hudson and Duggins access to the AFGE TrueBallot

email system.

       41.      The Department of Labor’s Rules and Regulations state as follows:

       §452.68 Distribution to less than full membership. Although section 401(c)
       specifies distribution to ‘‘all members in good standing,’’ a labor organization must
       also honor requests for distribution of literature to only a portion of the membership
       if such distribution is practicable. Each candidate may choose his own ways of
       campaigning for election according to his own ingenuity and resources. For example,
       some candidates for national or international union office may desire to limit
       distribution to delegates, but others may want to appeal directly to the membership
       or parts thereof in an effort to influence particular constituencies to choose delegates
       favorable to their candidacy. [Emphasis supplied]

29 U.S.C. §452.68.

       42.      The requests made by Plaintiff Hudson and by Plaintiff Duggins were reasonable

under the circumstances.

       43.      Distribution of campaign literature to influence the election of delegates to the

National Convention is a reasonable campaign tactic.


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       44.     Distribution of campaign information to the rank-and-file membership is also a

legitimate and reasonable way to request campaign contributions from the membership.

       45.     General Counsel Borer’s refusals to permit candidate Hudson to distribute campaign

literature through the TrueBallot system until after the election of all Convention delegates violated

the LMRDA.

       46.     Provisions in AFGE’s Constitution which prohibit the distribution of campaign

literature until after the selection of all Convention delegates also violates LMRDA.

                                     RELIEF REQUESTED

       Plaintiffs requests that the Court:

       1.      Conclude that AFGE violated their rights as a candidate for AFGE office to distribute

campaign literature to the membership;

       2.      Direct AFGE to grant access to the TrueBallot email system for distribution of

campaign literature to the membership or selected groups of members.

       3.      Direct AFGE to pay Plaintiffs’ costs and reasonable legal fees.




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      4.     Award such other legal and equitable relief as it deems just and proper.

                                           Respectfully submitted,
                                            /s/ Jonathan Axelrod
                                           Jonathan G. Axelrod (D C Bar No. 210245)
                                           Justin P. Keating (D.C. Bar. No. 475602)
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                                           Counsel for Plaintiffs Eugene Hudson, Jr., and Dana
                                           Duggins

Dated: November 28, 2017




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